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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 21-153 (RBW)
DANIEL GOODWYN,
Defendant.
_)
ORDER

In accordance with the oral rulings issued by the Court at the status hearing held on
January 10, 2022, via videoconference, it is hereby

ORDERED that the parties shall appear before the Court for a status hearing on
March 28, 2022, at 9:30 a.m., via videoconference. It is further

ORDERED that, with the consent of both the defendant and the government, the time
from December 9, 2021, to March 28, 2022, is excluded under the Speedy Trial Act, in light of
the fact that the defendant and his counsel require additional time to confer.

SO ORDERED this 10th day of January, 2022.

Laws Ltr

REGGIE B. WALTON
United States District Court Judge
